                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION

                                          3:07-cr-0119-4


UNITED STATES OF AMERICA,                    )
                                             )
                              Plaintiff      )
                                             )
               v.                            )                    ORDER
                                             )
ALFREDO SUSI,                                )
                                             )
                              Defendant      )

       This matter is before the Court sua sponte on this Court’s recognition that it legally erred

when it admitted Counsel Michael D. Gelety, Esq., into this District by Special Admission. This

Court hereby VACATES its Text Orders of August 11, 2010, admitting Mr. Gelety by Special

Admission and finding that Mr. Gelety’s Motion for Admission Pro Haec Vice was moot.

       Rather, Mr. Gelety by this ORDER is admitted as Pro Hac Vice counsel in this District

under Local Rule 83.1(d)(1) and not by Special Admission under Local Rule 83.1(d)(2).

       Thus Defense counsel must re-file all motions filed since August 11, 2010, with local

counsel also signing such motions and being subject to the same sanction as Pro Hac Vice

counsel if the Court were to determine the motion is frivolous.

       IT IS SO ORDERED.

                                                 Signed: September 9, 2010




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